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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   JERMAINE PADILLA,                                 No. 2:14-cv-1118 KJM CKD
12                      Plaintiff,
13          v.                                         ORDER
14   JEFFREY BEARD, et al.,
15                      Defendants.
16

17          Pending before the court are plaintiff’s motion to terminate plaintiff’s deposition and

18   defendants’ motion to compel plaintiff’s continued deposition and production of documents.

19   Because oral argument is not of material assistance, this matter is submitted on the briefs. E.D.

20   Cal. L.R. 230(g). Upon review of the documents in support and opposition, and good cause

21   appearing therefor, THE COURT FINDS AND ORDERS AS FOLLOWS:

22          1. Plaintiff’s motion to terminate or limit plaintiff’s deposition (ECF No. 73) and

23   defendant’s countermotion to compel plaintiff’s further deposition (ECF No. 74) are granted in

24   part and denied in part. Further deposition of plaintiff is allowed, limited to three hours. The

25   deposition shall be conducted at the federal courthouse, on a date coordinated with the court’s

26   courtroom deputy, so as to allow court supervision of said deposition.

27          2. The motion to compel production of documents (ECF No. 74) is denied. See Clark v.

28   Vega Wholesale, Inc., 181 F.R.D. 470, 472 (D. Nev. 1998); Fed. R. Civ. P. 45.
                                                      1
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 1             3. The court finds an award of expenses is not warranted considering all of the

 2   circumstances reflected in the record before it on these motions. Fed. R. Civ. P. 37 (a)(5)(A).

 3   Dated: December 10, 2015
                                                       _____________________________________
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                                                       CAROLYN K. DELANEY
 5                                                     UNITED STATES MAGISTRATE JUDGE

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